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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

NORTHWEST ENVIRONMENTAL             )
ADVOCATES,                          )
                                    )
                        Plaintiff,  )                 Civil Action No. 17-2019 (RCL)
                                    )
      v.                            )
                                    )
UNITED STATES DEPARTMENT            )
OF INTERIOR,                        )
                                    )
                        Defendant.  )
____________________________________)

                              DEFENDANT’S STATUS REPORT

       Pursuant to the Court’s Order dated January 16, 2019, ECF No. 21, defendant notifies the

Court and plaintiff that an appropriations act providing funding to the Department of Justice

(“DOJ”) for a three-week period of time was enacted on January 25, 2019. Consequently, DOJ

attorneys, including the undersigned Assistant United States Attorney assigned to this case, are

now authorized by law to resume work on civil matters, including matters that are not

“emergencies involving the safety of human life or the protection of property.” 31 U.S.C.

§ 1342.

       In the joint status report that was filed on November 27, 2018, the parties proposed filing

another joint status report by January 9, 2019, in order to provide the parties with additional time

to try to resolve fees and costs without the Court’s involvement. ECF No. 19. The Court,

however, did not enter an Order requiring the parties to file a joint status report by January 9,

2019. The lapse in appropriations to DOJ lasted 35 days. The thirty-fifth day from January 9,

2019, is February 13, 2019.
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       Defendant anticipates providing its response to plaintiff’s demand next week and

respectfully requests that the Court allow the parties to submit another joint status report on or

before March 26, 2019, in order to provide the parties additional time to try to resolve fees and

costs without the Court’s involvement or provide a briefing schedule regarding fees and costs.

Dated: February 1, 2019

                                                      Respectfully submitted,

                                                      JESSIE K. LIU, D.C. Bar # 472845
                                                      United States Attorney

                                                      DANIEL F. VAN HORN, D.C. Bar # 924092
                                                      Chief, Civil Division

                                                      By: /s/ Marsha W. Yee
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